                     Case 3:16-cv-05685-BHS Document 39 Filed 02/17/17 Page 1 of 4



 1                                                                            Honorable Benjamin H. Settle

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 7                                      UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
     LINDA GILMER,                                            No. 3:16-cv-05685-BHS
 9
                                    Plaintiff,                MOTION TO DISMISS WITHOUT
10                                                            PREJUDICE
                             v.
11                                                            NOTE ON MOTION CALENDAR:
     CENTENE CORPORATION ET AL                                Friday, March 17, 2017
12
                                    Defendants.
13

14               Pursuant to Fed. R. Civ. P. 41(a)(2), Plaintiff Linda Gilmer hereby moves to dismiss

15   Plaintiff’s Complaint without prejudice.

16                                    I. FACTS AND PROCEDURAL POSTURE

17               Plaintiff’s Complaint was filed on May 6, 2016, in the United States District Court for the

18   Western District of Missouri, Western Division, asserting a federal cause of action for wrongful

19   termination under the Sarbanes-Oxley Act, 18 U.S.C. 1541A (Dkt. 1). Plaintiff’s Complaint was

20   transferred to this Court at Defendants’ request and with Plaintiff’s consent on August 3, 2016

21   (Dkt. 19). Defendants’ Answers to Plaintiff’s Complaint were filed on December 20, 2016

22   (Dkts. 31, 32, and 33).

23               In January, 2017, Plaintiff’s counsel notified the Defendants that Plaintiff intends to

24   voluntarily dismiss this action, and sent a proposed stipulation to avoid the need for this motion.

25   (See Dkts. 37, 38). Based on the planned dismissal of this action, the parties have not conferred

26   as required by Fed. R. Civ. P. 26(f). Neither have the parties exchanged the disclosures required

27


     MOTION TO DISMISS WITHOUT PREJUDICE                                          MACDONALD HOAGUE & BAYLESS
     No. 3:16-cv-05685-BHS                                                          705 Second Avenue, Suite 1500
     11345.01 kb176701.001
                                                                                       Seattle, Washington 98104
                                                                                  Tel 206.622.1604 Fax 206.343.3961
                     Case 3:16-cv-05685-BHS Document 39 Filed 02/17/17 Page 2 of 4



 1
     by Fed. R. Civ. P. 26(a)(1), or exchanged initial written discovery requests of any type. (See
 2
     Dkts. 37, 38).
 3
                 Upon dismissal of her federal claim, this action will be resolved since there are no state
 4
     claims. And in any event, even if there were such claims, in an en banc opinion, the Ninth
 5
     Circuit emphasized that, “in the usual case in which all federal-law claims are eliminated before
 6
     trial, the balance of factors ... will point toward declining to exercise jurisdiction over the
 7
     remaining state-law claims.” Acri v. Varian Assocs., Inc., 114 F.3d 999, 1001 (9th Cir.),
 8
     supplemented, 121 F.3d 714 (9th Cir. 1997) (en banc) (citation omitted).
 9
                 Plaintiff intends to proceed in state court with only state-law claims, not with any federal
10
     claims. The Ninth Circuit has recognized a plaintiff’s entitlement to dismiss federal claims to
11
     pursue state claims in state court. Smith v. Lenches, 263 F.3d 972, 975 (9th Cir. 2001) (“Smith
12
     was entitled to abandon the federal class action and federal claims after deciding that litigation
13
     on state law claims in state court was preferable….”)
14
                                                  II. ARGUMENT
15
                 Defendants will not suffer plain legal prejudice as a result of the voluntary dismissal of
16
     Plaintiff’s claims in this forum without prejudice.
17
                 “Except as provided in Rule 41(a)(1), an action may be dismissed at the plaintiff’s
18
     request only by court order, on terms that the court considers proper.” Fed. R. Civ. P. 41(a)(2).
19
     “A district court should grant a motion for voluntary dismissal under Rule 41(a)(2) unless a
20
     defendant can show that it will suffer some plain legal prejudice as a result.” Smith v. Lenches,
21
     263 F.3d 972, 975 (9th Cir. 2001) (“the need to defend against state law claims in state court is
22
     not ‘plain legal prejudice’ arising from voluntary dismissal of the federal claims in the district
23
     court”). “Uncertainty because a dispute remains unresolved” or because “the threat of future
24
     litigation…causes uncertainty” does not result in plain legal prejudice. Westlands Water Dist. v.
25
     United States, 100 F.3d 94, 96-97 (9th Cir. 1996). “Also, plain legal prejudice does not result
26
     merely because the defendant will be inconvenienced by having to defend in another forum or
27


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 1
     where a plaintiff would gain a tactical advantage by that dismissal.” Lenches, 263 F.3d at 976
 2
     (citing Hamilton v. Firestone Tire & Rubber Co., 679 F.2d 143, 145 (9th Cir. 1982)).
 3
                 In sum, there is no legitimate barrier to granting the Plaintiff’s request for voluntary
 4
     dismissal without prejudice.
 5
                                                 III. CONCLUSION
 6
                 WHEREFORE, Plaintiff respectfully requests that the Court enter an Order dismissing
 7
     this action without prejudice.
 8

 9
                 DATED this 17th day of February, 2017.
10
                                                                MacDONALD HOAGUE & BAYLESS
11

12
                                                                By /s/ Jesse Wing
13                                                                 Jesse Wing, WSBA # 27751
                                                                   MacDonald Hoague & Bayless
14                                                                 705 Second Ave, Suite 1500
                                                                   Seattle, WA 98104
15                                                                 JesseW@mhb.com
                                                                   Attorney for Plaintiff
16

17                                                              LG Law LLC

18
                                                                By /s/ Lewis Galloway
19                                                                 Lewis Galloway, admitted pro hac vice
                                                                   LG Law LLC
20                                                                 1600 Genessee St, Suite 918
                                                                   Kansas City, MO 64102
21                                                                 Lewis@lglawll.com
                                                                   Attorney for Plaintiff
22

23

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 1
                                               CERTIFICATE OF SERVICE
 2
                 I certify that on the date noted below I electronically filed this document entitled
 3
     MOTION TO DISMISS WITHOUT PREJUDICE with the Clerk of the Court using the
 4
     CM/ECF system which will send notification of such filing to the following persons:
 5
                 Counsel for Defendants
 6               Breanne Sheetz Martell
                 Douglas Edward Smith
 7               Littler Mendelson (WA)
 8               600 University Street Ste 3200
                 Seattle, WA 98101-3122
 9               Email: bsmartell@littler.com
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10
                 Bradley M Bakker, admitted pro hac vice
11               Jovita Foster, admitted pro hac vice
12               Armstrong Teasdale LLP
                 7700 Forsyth Blvd. Ste 1800
13               St Louis, MO 63105-1810
                 Email: bbakker@armstrongteasdale.com
14               Email: jfoster@armstrongteasdale.com
15

16
                 DATED this 17th day of February, 2017, at Seattle, Washington.
17

18
                                                        /s/ Esmeralda Valenzuela
19                                                      Esmeralda Valenzuela, Legal Assistant

20

21

22

23

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25

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27


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